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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

  ZAPF CREATION AG,

          Plaintiff,                                          Case No.: 1:19-cv-1225

   v.                                                         Judge Charles R. Norgle, Sr.

  THE PARTNERSHIPS AND UNINCORPORATED                         Magistrate Judge Jeffrey T. Gilbert
  ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

          Defendants.


                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                NO.                                   DEFENDANT
                 33           wenshine02



DATED: March 20, 2019                                Respectfully submitted,

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt (Bar No. 6207971)
                                                     Keith Vogt, Ltd.
                                                     1033 South Blvd., Suite 200
                                                     Oak Park, Illinois 60302
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                                                     ATTORNEY FOR PLAINTIFF
    Case: 1:19-cv-01225 Document #: 31 Filed: 03/20/19 Page 2 of 2 PageID #:4687



                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on March 20, 2019 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt




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